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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                     EASTERN DIVISION


PENNYMAC LOAN SERVICES, LLC                                                                           PLAINTIFF

V.                                                             CIVIL ACTION NO. 2:19-cv-193-KS-MTP

SITCOMM ARBITRATION ASSOCIATION,
MARK MOFFETT, SANDRA GOULETTE,
RONNIE KAHAPEA, MARK JOHNSON,
KIRK GIBBS, and ALARIC SCOTT                                                                      DEFENDANTS


                                                       ORDER

           This cause comes before the Court sua sponte on filings that were docketed on June 5,

2020. An envelope was delivered to the Clerk’s Office on June 5, 2020, addressed to this Court,

bearing this case number 2:19-cv-000193. The envelope contained a Motion to Dismiss [54], two

affidavits [54-1], [54-2], and a third “Affidavit” that is also titled “We Do Not Consent to A

Magistrate” [55]. These filings are not properly authorized filings and will be stricken.

           All four of these documents are handwritten and bear the following names:

           S/: Sandra Goulette
           S/: Mark Moffett
           S/: Sitcomm Arbitration Association
           S/: Ronnie Kahapea
           S/: Mark Johnson
           S/: Kirk Gibbs
           S/: Alaric Scott
           S/: Brett “Eeon” Jones 1

The return address on the envelope states that it is from “Jones, Brett-BJ5840-OHU-120” from

“CIM, Box 3100, Chino, CA 91710.” 2 Thus, Brett Jones, whose “signature” is contained on the

documents, appears to have submitted these documents for filing. However, Brett Jones is

neither a named Defendant in this case nor authorized to file documents in this action.


1
    [54] does not contain a “signature” for Mark Moffett, and [55] does not contain a “signature” for Kirk Gibbs.
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        On February 19, 2020 Eeon f/k/a Brett Jones filed a Motion to Intervene. 3 Such motion

was denied by Order dated March 26, 2020 [50]. Accordingly, Brett Jones has not been made a

party to this action, and thus, may not file documents in this Court. See [31] at p. 2. 4 Brett Jones

also does not appear to be a licensed attorney, 5 let alone licensed to practice in this Court, and

thus, he may not file documents on behalf of other Defendants even Sitcomm Arbitration

Association (“Sitcomm”). 6

        Brett Jones is not authorized to file documents on behalf of Sitcomm for two reasons.

First, Sitcomm is a defaulted party in this action via the Clerk’s Default entered on January 21,

2020 [23], and thus, Sitcomm may not file any documents until such default is lifted. Second,

because Brett Jones is not licensed to practice law, at least not in this Court, he is not authorized,

even as Sitcomm’s founder, to file documents on its behalf because a layperson may not

represent a corporation, regardless of his relationship to the corporation. 7 See Donovan v. Road

Rangers Country Junction, Inc., 736 F.2d 1004, 1005 (5th Cir.1984) (explaining that “‘a

corporation as a fictional legal person can only be represented by licensed counsel’” and quoting

K.M.A., Inc. v. General Motors Acceptance Corp., 652 F.2d 398, 399 (5th Cir.1981)); Southwest

Exp. Co., Inc. v. I.C. C., 670 F.2d 53, 56 (5th Cir.1982) (“the only proper representative of a

corporation or a partnership is a licensed attorney, not an unlicensed layman regardless of how

close his association with the partnership or corporation”). 8


2
  The numbers and letters following the name Jones, Brett are somewhat illegible.
3
  The address at the top of the Motion to Intervene states “Eeon fka Brett Jones CDCR #BJ5840, P.O. Box 600
Facility A, Chino, California 91708.”
4
  Brett Jones, as Eeon fka Brett Jones, filed two other motions, which the Court denied in its Order dated February
4, 2020 because he is not a named party and thus had no standing to file motions or a counterclaim. [31].
5
  It appears from his address and CDCR# that he is currently incarcerated with the California Department of
Corrections.
6
  In one of the filed Affidavits [54-1], the signature line reads “S/: Sitcomm Arbitration founder Brett “Eeon”
Jones.”
7
  Plaintiff has alleged that Sitcomm Arbitration Association is a trade name registered in the State of Wyoming to
Innovated Holdings, Inc., with its principal place of business in Nevada. [1] at ¶ 7.
8
  While the documents filed are motions and affidavits, the Fifth Circuit has affirmed even the striking of pleadings
of unrepresented corporations. See Torres v. Krueger, 596 F. App'x 319, 321 (5th Cir. 2015).
                                                         2
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       Based on the foregoing, it is hereby ORDERED that CM/ECF Doc. Nos. [54], [54-1],

[54-2], and [55] are hereby stricken from the record in this case. Brett Jones is advised that any

further unauthorized filings in this Court either on his own behalf, on behalf of Sitcomm, or any

of the other Defendants may subject him to sanctions under the Court’s inherent authority. See

Iris Connex, LLC v. Dell, Inc., 235 F. Supp. 3d 826, 858 (E.D. Tex. 2017) (citing Chambers v.

NASCO, Inc., 501 U.S. 32, 44 (1991)). The Clerk of Court shall provide a copy of this Order to

all pro se Defendants in this matter, as well as to Brett Jones at the address listed on the envelope

associated with these filings.

       SO ORDERED AND ADJUDGED this 8th day of June 2020.



                                                       s/ Keith Starrett __________________
                                                       KEITH STARRETT
                                                       UNITED STATES DISTRICT JUDGE




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